Case 1:24-cv-00594-JLH-CJB          Document 33        Filed 12/18/24      Page 1 of 4 PageID #:
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                                   December 18, 2024

VIA CM/ECF & HAND DELIVERY
The Honorable Christopher J. Burke
J. Caleb Boggs Federal Building
844 N. King Street, Unit 28, Room 2325
Wilmington, DE 19801-3555

       Re:    National Steel Car Limited v. FreightCar America Inc,
              C.A. No. 24-594-JLH-CJB

Dear Judge Burke,

       The parties jointly write on behalf of our clients, Plaintiff National Steel Car Limited

(“NSC”) and Defendant FreightCar America, Inc. (“FreightCar America”), in response to the

Court’s November 27, 2024 Order (D.I. 32) regarding submission of a proposed scheduling order

and a copy of the Court’s Case Management Checklist.

       I.     Brief Description of the Case

       This is a patent infringement case involving industrial rail cars. The parties bid to supply

rail cars with open-top hoppers and bottom discharge to the Canadian National Railway

Company (“CN”) for use on the Duluth, Missabe and Iron Range Railway (“DMIR”). CN

awarded the contract to FreightCar America. NSC contends that the railcars FreightCar America

sold to CN infringe NSC’s U.S. Patent Nos. 8,166,892 and 8,132,515 and that FreightCar

America’s infringement is willful. NSC filed this lawsuit on May 17, 2024.

       FreightCar America has not yet answered and has moved to dismiss NSC’s claims of

willful and induced infringement. (D.I. 21, 28.) NSC opposed. (D.I. 27.) The motion is fully

briefed and awaiting decision. Discovery has commenced, but the parties have not yet served any

discovery requests or taken any depositions.
Case 1:24-cv-00594-JLH-CJB        Document 33          Filed 12/18/24      Page 2 of 4 PageID #:
SHAW KELLER LLP                          533
The Honorable Christopher J. Burke
Page 2

       II.     Scheduling Order Disputes

       The parties’ main dispute concerns the case schedule. The parties’ respective proposals

are attached as Exhibit A to the joint proposed scheduling order. The parties’ positions on the

schedule are as follows:

       NSC’s position: This is a straightforward patent infringement case regarding mechanical

technology. NSC proposed an initial schedule that would set trial for June 2026—more than two

years from the May 2024 filing date. FreightCar America proposed a trial in December 2026.

NSC offered to split the difference, with fact discovery closing November 2025, a dispositive

motions hearing in June/July 2026, and trial in September/October 2026. FreightCar America

declined, offering only to move its dates up by a couple of weeks.

       NSC’s schedule is reasonable and consistent with the Court’s and Judge Hall’s practice. 1

The straightforward nature of this case does not necessitate three additional months of fact

discovery as proposed by FreightCar America. The patents are mechanical patents, the accused

products are rail cars with sales expected to have a limited scope of customers, and there is no

need for source code discovery. FreightCar America’s claim construction schedule is likewise

unnecessarily long. For example, FreightCar America offers no reason why the parties would

need nearly six weeks to offer claim terms for construction after service of invalidity

contentions, or why the claim construction hearing should be delayed for nearly three months



1
 See, e.g., InQuisient Inc. v. ServiceNow, Inc., C.A. No. 22-900-CJB, D.I. 31 (D. Del Dec. 21,
2022) (Burke, J.) (setting October 7, 2024, trial date in Scheduling Order proposed in December
2022); Align Technology, Inc. v. 3Shape A/S, C.A. No. 18- 1949-RGA, D.I. 54 (D. Del. Apr. 2,
2020) (Hall, J.) (setting close of fact discovery and trial at 10 and 22 months after proposed
scheduling order).
Case 1:24-cv-00594-JLH-CJB        Document 33          Filed 12/18/24      Page 3 of 4 PageID #:
SHAW KELLER LLP                          534
The Honorable Christopher J. Burke
Page 3

following the submission of the joint claim construction brief. Thus, Plaintiff’s position is more

reasonable in light of the technology, the accused products, and the expected scope of the case.

       FreightCar America’s position: Because the parties have not yet conducted any

discovery or exchanged contentions, and FreightCar America has not answered the complaint,

this case is in its initial stages. FreightCar America’s proposed schedule would have fact

discovery close in approximately one year and would set trial for approximately two years from

now. These periods are reasonable and consistent with Judge Hall’s practice. 2 FreightCar

America respectfully submits that its more reasonable schedule should be adopted.

       III.    Most Significant Checklist Items

       The parties discussed the checklist during their December 12, 2024 meet and confer and

were largely in agreement regarding most items. However, the parties disagree on whether expert

declarations submitted in connection with motion practice, but after the deadline to serve the

relevant expert report, may include expert opinions not disclosed in the report. They may also

disagree on the number of custodians whose email should be searched. Regarding readiness for

ADR, NSC stated that it would be timely when FreightCar America produces its sales

information for the accused products. FreightCar America stated that service of NSC's

infringement contentions would facilitate the parties’ discussions in the ADR proceeding.




2
  See, e.g., Intellectual Ventures I LLC v. Ubiquiti Inc., No. 1:23-cv-00865, D.I. 24 at 15-16 (D.
Del. June 21, 2024) (Judge Hall setting close of fact discovery and trial for more than 15 and 26
months after proposed scheduling order); Multifold International Incorporated Pte. Ltd. v.
Motorola Mobility LLC, No. 1:23-cv-01173, D.I. 24 & D.I. 26 at 19-20 (D. Del. Apr. 29, 2024)
(Judge Hall setting close of fact discovery and trial for more than 16 and 27 months after
proposed scheduling order).
Case 1:24-cv-00594-JLH-CJB        Document 33     Filed 12/18/24    Page 4 of 4 PageID #:
SHAW KELLER LLP                          535
The Honorable Christopher J. Burke
Page 4

Respectfully Submitted,

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cc:    Clerk of Court (by CM/ECF & Hand Delivery)
       All Counsel of Record (by CM/ECF & Email)
